IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
CENTRAL DIVISION

UNITED STATES OF AMERICA, No. 18-04093-01-CR-C-SRB

Plaintiff, COUNT 1

18 U.S.C. § 2421(a)

v. NMT 10 Years Imprisonment

NMT $250,000 Fine

MICHAEL JAMES COLLINS NLT 5 Years; NMT Life Supervised Release
[DOB: 02/12/1997] Class C Felony

Defendant. CoUNT 2 §
18 U.S.C. § 2260(A)

NLT 10 Years lmprisonment (Consecutive)

NMT $250,000 Fine

NLT 5 Years; NMT Life Supervised Release

 

$100 Special Assessment (Each Count)
I N F O R M A T I 0 N
THE UNITED STATES ATTORNEY CHARGES:

COUNT 1
(Interstate Transportation for Illicit Sexual Activity)

18 U.S.C. § 2421§a1

Beginning December 8, 2017, and continuing to December 10, 2017, said dates being
approximate, within Callaway County, in the Western District of Missouri, and elsewhere, the
defendant, MICHAEL JAMES COLLINS, aided and abetted by others, knowingly in
transporting an individual (“FV”) in interstate commerce with the intent that F.V. engage in sexual
activity for which a person can be criminally charged under the laws of the State of Missouri,
including statutory rape in the first degree and statutory sodomy in the first de gree, which prohibits

any person from having sexual intercourse or deviate sexual intercourse with another person who

is less than fourteen years of age; all in violation of Title 18, United States Code, Section 2421(a).

 

 

COUNT 2
(Penalties for Registered Sex Offenders)

18 U.S.C. § 2260§A1

Beginning on an unknown date, as early as December 8, 2017, and continuing to December
10, 2017, said dates being approximate, within Callaway County, in the Western District of
Missouri, and elsewhere, the defendant, MICHAEL JAMES COLLINS, when he was required
to register as a sex offender under the law of the State of Missouri, committed the felony offense
involving a minor charged in Count l of this Information; all in violation of Title 18, United States
Code, Section 2260(A).

Timothy A. Garrison

Uni States Attorney
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Missouri Bar No. 62314

 

 

